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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

DISPLAY TECHNOLOGIES, LLC,            §
                                      §
      Plaintiff,                      §              Case No: 6:21-cv-00766-ADA
                                      §
vs.                                   §              PATENT CASE
                                      §
MERCEDES-BENZ USA, LLC,               §
                                      §
      Defendant.                      §
_____________________________________ §


               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

         Plaintiff Display Technologies, LLC (“Plaintiff” and/or “Display”) files this Notice of

Voluntary Dismissal With Prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff without order of

court by filing a notice of dismissal at any time before service by the adverse party of an answer.

Accordingly, Plaintiff hereby voluntarily dismisses this action against Defendant Mercedes-Benz

USA, LLC with prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own fees and

costs.




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Dated: October 15, 2021                      Respectfully submitted,

                                             /s/Jay Johnson
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                                             ATTORNEYS FOR PLAINTIFF

                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true copy of the foregoing was filed electronically
and served by operation of the Court’s electronic filing system on October 15, 2021. Parties may
access the foregoing through the Court’s system.

                                         /s/Jay Johnson
                                         JAY JOHNSON




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